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E-Filed on May 15, 2007

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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

In re:
USA COMMERCIAL MORTGAGE COMPANY,

Debtor.

Case Nos.:

BK-S-06-10725-LBR
BK-S-06-10726-LBR
BK-S-06-10727-LBR

In re:
USA CAPITAL REALTY ADVISORS, LLC,

Debtor.

BK-S-06-10728-LBR
BK-S-06-10729-LBR

In re:
USA CAPITAL DIVERSIFIED TRUST DEED
FUND, LLC,

Debtor.

JOINTLY ADMINISTERED
Chapter 11 Cases

Judge Linda B. Riegle Presiding

In re:
USA CAPITAL FIRST TRUST DEED FUND,
LLC,

Debtor.

NOTICE OF FILING PROOES OF
SERVICE OF SUBPOENAS FOR
RULE 2004 EXAMINATIONS

In re:
USA SECURITIES, LLC,

Debtor.

Affects:

] All Debtors

USA Commercial Mortgage Company

[_] USA Capital Realty Advisors, LLC

| USA Capital Diversified Trust Deed Fund, LLC
L] USA Capital First Trust Deed Fund, LLC

_] USA Securities, LLC

NOTICE IS GIVEN that the USACM Liquidating Trust herewith files the:

Proof of Service of Subpoena for Rule 2004 Examination
of Bank of America, N.A. (Exhibit A Attached);

Proof of Service of Subpoena for Rule 2004 Examination
of Desert Community Bank (Exhibit B Attached);

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NO wo YN NHN NY NY NO KR Se YF FS KF FEF Rr EE Pl
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Case 06-10725-gwz Doc 3737 Entered 05/15/07 14:00:20 Page 2 of 2

Proof of Service of Subpoena for Rule 2004 Examination
of Nevada State Bank (Exhibit C Attached); and

Proof of Service of Subpoena for Rule 2004 Examination
of Bank of Commerce (Exhibit D Attached).

DATED: May 15, 2007

DIAMOND MCCARTHY LLP

By: /s/ Eric D. Madden

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